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IN THE uNlTED STATES DlsTRlcT couRT ~“~ 0-0.
FOR THE WESTERN D|STRICT 0F TENNESSE@$ AU
WESTERN Dlvlslol\l GZZ PH b= 33
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uNlTED STATES 0F AMER|CA, * CLEHK, US. D!§!HYTM
W/D Cf` 1 ' esp/mw
P|aintiff, *
cR. No. 05-20078-N11
v. *
MoNch JOHNSON, *
Defendant. *
oRDER

 

Upon Motion ofthe United States, and for good cause shown, the |ndictment pending

against |Vlonica Johnson is hereby dismissed.

Entered on this l q day of August, 2005.

yd/M._

HONORABLE JON P. |V|CCALLA
UN|TED STATES D|STR|CT COLJ RT JUDGE

 

Approved: W

TlMOTHY`R. DiSCENzA
Assistant United States Attorney

Th!s clocL.mem entered on the docket she tin compliance
with me 55 and/or 32¢1:)) FHCrP on __i:_&$_’®

 

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US DISTRICT COURT

